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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA,

 9                                Plaintiff,             Case No. CR08-159-JLR

10         v.                                            PROPOSED FINDINGS OF FACT
                                                         AND DETERMINATION AS TO
11 GUSTAVO ROJO-MELENDREZ,                               ALLEGED VIOLATIONS OF
                                                         SUPERVISED RELEASE
12                                Defendant.

13                                             INTRODUCTION

14       I conducted a hearing on alleged violations of supervised release in this case on January 4,

15 2013. The defendant appeared pursuant to summons issued in this case. The United States was

16 represented by Mark Parrant, and defendant was represented by Scott Engelhard. Also present

17 was U.S. Probation Officer Carol A. Chavez. The proceedings were digitally recorded.

18                                 SENTENCE AND PRIOR ACTION

19       Defendant was originally sentenced on December 15, 2008, by the Honorable James L.

20 Robart for Possession with Intent to Distribute Cocaine. He received 19 months custody and 3

21 years of supervised release.

22       On July 18, 2011, the Court revoked defendant’s term of supervised release and imposed

23 two months custody along with a new two year term of supervised release which included

     PROPOSED FINDINGS OF FACT AND
     DETERMINATION AS TO ALLEGED VIOLATIONS
     OF SUPERVISED RELEASE - 1
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 1 participation in a halfway house for up to 120 days. The revocation occurred after Mr. Rojo-

 2 Melendrez admitted to violating the terms and conditions of his supervision. Specifically, he

 3 violated by using marijuana, using cocaine, and for failing to pay towards his $100 special

 4 assessment. Defendant was released from custody on August 19, 2011, and his new term of

 5 supervised release commenced. Mr. Rojo-Melendrez entered the halfway house in Tacoma, WA

 6 the same date he released.

 7       On December 14, 2011, the Court again revoked Mr. Rojo-Melendrez’s term of supervised

 8 release after he admitted to committing a new law violation, associating with persons engaged in

 9 criminal activity, and for failing to notify his probation officer of having law enforcement

10 contact. The defendant was sentenced to 120 days custody and a new 24 month term of

11 supervised release. Mr. Rojo-Melendrez was released from custody on February 14, 2012, and

12 his current term is scheduled to expire on February 14, 2014.

13                                PRESENTLY ALLEGED VIOLATIONS

14       In a petition dated December 6, 2012, U.S. Probation Officer Carol A. Chavez alleged that

15 defendant violated the following conditions of supervised release:

16       1.      Using cocaine on or about April 28, 2012, in violation of the mandatory condition

17               and standard condition number 7.

18       2.      Using synthetic marijuana or “spice” on or about September 28, 2012, in violation of

19               the mandatory condition and standard condition number 7.

20       3.      Failure to participate in drug treatment in August and September 2012, in violation

21               of the special condition.

22                         FINDINGS FOLLOWING EVIDENTIARY HEARING

23       Defendant admitted the above violations, waived any hearing as to whether they occurred,

     PROPOSED FINDINGS OF FACT AND
     DETERMINATION AS TO ALLEGED VIOLATIONS
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 1 and was informed the matter would be set for a disposition hearing January 29, 2013, at 10:00

 2 a.m. before District Judge James L. Robart.

 3                        RECOMMENDED FINDINGS AND CONCLUSIONS

 4       Based upon the foregoing, I recommend the court find that defendant has violated the

 5 conditions of his supervised release as alleged above, and conduct a disposition hearing.

 6       DATED this 4th day of January, 2013.

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                                                        BRIAN A. TSUCHIDA
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                                                        United States Magistrate Judge
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     PROPOSED FINDINGS OF FACT AND
     DETERMINATION AS TO ALLEGED VIOLATIONS
     OF SUPERVISED RELEASE - 3
